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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 JOHN KELLEY et al.,                           §
                                               §
          Plaintiffs,                          §
                                               §
 v.                                            §      Civil Action No. 4:20-cv-00283-O
                                               §
 XAVIER BECERRA et al.,                        §
                                               §
          Defendants.                          §

                                           ORDER

         Before the Court is the parties’ second Agreed Motion to Amend Briefing Schedule (ECF

No. 48), filed December 20, 2021. Noting the agreement of the parties and finding good cause to

amend, the Court GRANTS the parties’ Motion. Accordingly, the Court ORDERS the following:

         1)   Defendants’ Combined Response & Cross Motion for Summary Judgment is due

              January 12, 2022.

         2)   Plaintiffs’ Combined Reply & Response to Cross-Motion for Summary Judgment is

              due February 11.

         3)   Defendants’ Reply to Cross-Motion for Summary Judgment is due March 4.

         SO ORDERED on this 21st day of December, 2021.



                                                   _____________________________________
                                                   Reed O’Connor
                                                   UNITED STATES DISTRICT JUDGE
